                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
                              Plaintiff,         )
                                                 )
        v.                                       )
                                                 )   CASE NO. 07-00157-01-CR-W-NKL
VICTOR IVAN RODRIGUEZ,                           )
                                                 )
                              Defendant.         )

                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

        Pursuant to the Report and Recommendation of United States Magistrate Judge John T.

Maughmer, to which no objection has been filed, the plea of guilty to the Indictment is now

accepted. Defendant is adjudged guilty of such offense. Sentencing will be set by subsequent order

of the court.


                                                      s/ NANETTE K. LAUGHREY
                                                     NANETTE K. LAUGHREY
                                                     United States District Judge

Kansas City, Missouri
October 11, 2007




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